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Matthew Bryant (00:06):
Yes, sir.

James Garretson (00:07):
Hey, did I get you at a bad time.

Matthew Bryant (00:10):
No, no. Just meeting with the attorneys, walking into the office.

James Garretson (00:14):
Oh, okay. Never mind.

Matthew Bryant (00:15):
I thought everything went well today.

James Garretson (00:17):
Okay. I was just checking in, man. I was just making sure I didn't shit on you or anything.

Matthew Bryant (00:22):
Yeah. Amanda wants me to put you on speaker, she wants to talk to you.

James Garretson (00:27):
Okay.

Amanda Green (00:28):
I know we had to talk to each other way too long today, but... You're like, "I don't want to talk to her."
Jim I thought you did great.

James Garretson (00:36):
I was just making sure. I know I was getting trapped up there for a minute, but I was just, I don't know.
First time ever going to court.

Amanda Green (00:44):
Yeah. I mean they backed way off of what I thought they were going to do. I think they planned to, but
you totally held your own and we cleaned up the few details that-

James Garretson (00:56):
Yeah, okay gotcha.

Amanda Green (00:58):
... Reiterate the stuff that we liked. And I mean, I think you came off great and credible and-

James Garretson (01:06):


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Okay I was just curious. I kind of had a feeling I was like shitting on that a little bit and I'm just like,
"Ugh."

Amanda Green (01:17):
No, you did a great job, you got up there, you said what you told us before and-

James Garretson (01:20):
Okay, cool.

Amanda Green (01:21):
... Got through the recording. Yeah. I thought it went really smooth, really well.

James Garretson (01:25):
Okay. And I'm not going to be needed anymore, I'm done, right?

Amanda Green (01:29):
You're done. You are done, done, done.

James Garretson (01:30):
Okay. Well, it was a pleasure working with you, Amanda.

Amanda Green (01:34):
It was a pleasure working with you, James.

Matthew Bryant (01:34):
James. I will say this. Hey James this is Matt.

James Garretson (01:39):
Yeah, Matt.

Matthew Bryant (01:42):
I can't tell you what to do, but you're going to get bombarded probably from social media and media
stuff and-

Amanda Green (01:49):
And from reporters. Reporters and people making documentaries and crap are going to call you.

James Garretson (01:54):
Yeah. Yeah.

Amanda Green (01:55):
And obviously you can do whatever you want about that. Just be ready for it. Cause they're all over this
crap.


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James Garretson (02:02):
Yeah. Yeah.

Matthew Bryant (02:03):
Like I said, you do you, I would encourage you to focus on Florida and your business there and let
everything else die away, but it's totally up to you.

James Garretson (02:13):
Yeah I'm actually going to get out. I'm going to close my store for the rest of the week. I'm going to head
out in the morning to Florida.

Matthew Bryant (02:20):
Good job.

Amanda Green (02:21):
All right.

James Garretson (02:22):
All right. Well see you later. [crosstalk 00:02:23] All right. Thank you.

Matthew Bryant (02:25):
Bye.




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